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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:09−cr−00383
                                                     Honorable Sharon Johnson Coleman
, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 29, 2024:


       MINUTE entry before the Honorable Sharon Johnson Coleman as to Joaquin
Guzman Lopez (21): Arraignment is set for 7/30/2024 at 11:30 AM as an in−person
hearing in courtroom 1719. The media and the general public are to follow the attached
guidelines for these proceedings. Mailed notice. (ym)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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